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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA,


                                                            Case No.:     1:23-cv-00853-DAE

GREG ABBOTT, in his capacity as Governor of
the State of Texas, and THE STATE OF TEXAS




                         MOTION FOR ADMISSION PRO HAC VICE


TOTHE HONORABLE JUDGE OF SAID COURT:
       Comes now                         Matt A. Crapo                     applicant herein, and
moves this Court to grant admission to the United States District Court for the Western District of
Texas pro hac vice to represent Immigration Reform Law lnstitute in this case. and would
respectfully showthe Court as follows:
1.     Applicant is an attorney and a member of the law firm (or practices under the name of)
                                  Immigration Reform LawInstitute
       with offices at

               Mailing address:         25 Massachusetts Ave., NW, Suite 335

               City, State, Zip Code:          Washington, DC 20001

               Telephone:               (571)435-3582
               Facsimile:               (202) 464-3590
               Email:              merapo@irli.org
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2.    Since          July 9,2001          Applicant has been and presently is a member of and in
      good standing with the Bar of the State of                   District of Columbia

      Applicant's bar license number is               473355

3.    Applicant has been admitted to practice before the following courts:
      Court:                                                   Admission date:

      Sth Circuit Court of Appeals                             August 26, 2021
      9th Circuit Court of Appeals                             March 26, 2007
      11th Circuit Court of Appeals                            June 15, 2021
      U.S. District Court (D.C.)                               June 5, 2023

 4.   Applicant is presently a member in good standing of the bars of the courts listed above.
      except as provided below (list any court named in the preceding paragraph before which
      Applicant is no longer admitted to practice):
       N/A




 5.   Applicant has never been subject to grievance proceedings or involuntary removal
      proceedings while a member of the bar of any state or federal court, except as provided
      below:

      NIA



6.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,
      except as provided below (omit minor traffic offenses):
         was arrested for driving under the influence in 2016. The charges were dismissed.

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7.    Applicant has read and is familiar with the Local Rules of the Western District of Texas and

       willcomply with the standards of practice set out therein.
8.    Select one:

             Applicant has on file an application for admission to practice before the United
             States District Court for the Western District of Texas.

             Applicant has co-counsel in this case who is admitted to practice before the United

             States District Court for the Western District of Texas.

             Co-counsel:               Paul M. Davis


             Mailing address:          9355 John W. EIliott Dr., Suite 25454

               City,State, Zip Code:         Frisco, TX 75033

             Telephone:                945-348-7884

9.    Should the Court grant applicant's motion, Applicant shall tender the amount of$100.00
      pro hac vice fee in compliance with Local Court Rule AT-1()(2) [checks made payable
      to: Clerk, U.S. District Court).
10.   Should the Court grant applicant's motion, Applicant shall register as a filing user within l0

      days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing
      in Civil and Criminal Cases in the Western District of Texas.




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Wherefore, Applicant prays that this Court enter an order permitting the admission of
                      Matt A. Crapo                    to the Western District of Texas pro hac vice
for this case only.

                                               Respectfully submitted,

                                                                 Matt A. Crapo
                                               [printed name of Applicant]




                                      CERTIFICATE OF SERVICE
        Ihereby certify that I have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the 14th day of
            August                      2023


                                                                 Matt A. Crapo
                                               [printed name of Applicant]


                                               [signature of Applicant)




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                         INTHE UNITED STATESDISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
UNITED STATES OF AMERICA,

-VS                                                                Case No.    1:23-cv-00853-DAE

GREG ABBOTT, in his capacity as Governor of
theState of Texas, and THE STATE OF TEXAS


                                                ORDER


        BE IT REMEMBERED on this the                        day of                        20            there

was   presented    to   the   Court    the   Motion   for   Admission       Pro    Hac   Vice   filed     by

         Matt A. Crapo                ("Applicant"), counsel for      Immigration Reform Law and
the Court, having reviewed the motion,enters the following order:
        IT ISORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant
may appear on behalf of        Immigration Reform Law               in the above case.

        IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,
in compliance with Local Court Rule AT-1()(2), immediately tender the amount of S100.00,
made payable to: Clerk, U.S. District Court.

        IT ISFURTHER ORDERED that Applicant, pursuant to the Administrative Policies and
Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.
        ITIS FINALLY ORDERED that Applicant'sPro Hac Vice status shall not become effective
 until Applicant has complied with all provisions of this Order.
        SIGNED this the                day of                                 20




                                                UNITED STATES DISTRICT JUDGE
